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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             §
    In re:                                                   §              Chapter 11
                                                             §
    SOUTHERN FOODS GROUP, LLC, et al. 1                      §              Case No. 19-36313 (DRJ)
                                                             §
                     Debtors.                                §              (Jointly Administered)
                                                             §

        LIMITED OBJECTION OF THE STOP & SHOP SUPERMARKET
 COMPANY LLC AND FOOD LION LLC TO DEBTORS’ MOTION FOR ENTRY OF
 ORDER APPROVING SALE OF DEBTORS’ ASSETS FREE AND CLEAR OF LIENS,
CLAIMS, INTERESTS, AND ENCUMBRANCES TO DAIRY FARMERS OF AMERICA
               (Relates to Docket Nos. 925, 1178, 1270, and 1278)

             The Stop & Shop Supermarket Company LLC (“Stop & Shop”) and Food Lion LLC

(“Food Lion” and collectively with Stop & Shop, the “Retailers”) hereby file this limited

objection to the above-captioned debtors’ (the “Debtors” or “Dean Foods”) proposed sale of

assets free and clear of liens, claims, interests, and encumbrances (the “DFA Sale”) to Dairy

Farmers of America, Inc. (“DFA”), and respectfully states as follows:




1
      The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
      Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
      (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
      (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
      Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751);
      Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390);
      Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean
      Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
      Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC
      (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS
      Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice
      Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221);
      Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
      Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream,
      LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc.
      (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North
      Haskell Avenue, Suite 3400, Dallas, TX 75204.
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                                        PRELIMINARY STATEMENT

        1.       As the Retailers have expressed to the Court on several occasions, the Retailers

have serious concerns about the destruction of competition and restraints of trade that will result

from a combination of Dean Foods and DFA. These concerns have been echoed by the Department

of Justice, the Official Committee of Unsecured Creditors (the “Committee”), and the Court

itself. 2 The Retailers possess a private right of action to sue for relief to protect themselves from

threatened loss or damage in violation of the antitrust laws. Yet the DFA Sale purports to strip

those rights away from the Retailers. The Court should decline to approve the DFA Sale without

ensuring that these rights are preserved.

                                               BACKGROUND

        2.       Stop & Shop and Food Lion collectively own and operate over 1,400 supermarkets

in New England, the Mid-Atlantic and the Southeastern United States. In the ordinary course of

their business, the Retailers purchase processed milk and other dairy products directly from the

Debtors and DFA for retail sale at certain of their supermarket stores.

        3.       On March 31, 2020, the Debtors filed the Notice of Bid Results (the “Bid Results”)

[Docket No. 1270], which announced that DFA was the successful bidder for the majority of the

Debtors milk processing facilities. The Debtors also filed a copy of the asset purchase agreement

between the Debtors and DFA [Docket No. 1278] and a copy of the proposed order approving the

DFA Sale [Docket No. 1350].

                                           LIMITED OBJECTION

        4.       The Retailers have significant concerns that the DFA Sale will result in a monopoly

for both raw and processed milk and other dairy products in various markets and an unreasonable


2
    Bid Procedures Hr’g Tr. 63:19-66:20, 74:18-75:8 (Mar. 12, 2020) (The relevant excerpts of this transcript are
    attached as Exhibit A); First Day H’rg Tr. 21:24-22:2, 64:16-65:20 (Nov. 13, 2019) [Docket No. 270].

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restraint of trade in violation of the antitrust laws. The Debtors are already “the largest processor

and direct-to-store distributor of fresh fluid milk and other dairy and dairy case products in the

United States.” 3 DFA is the largest single raw milk supplier to the Debtors and the largest milk

cooperative in the country. 4 DFA also already operates many milk processing and distribution

facilities. A combination of the Debtors and DFA will result in a company that is both the largest

raw milk supplier and the largest processed milk distributor in the country, which will significantly

reduce competition for fluid milk and other dairy products in several relevant markets in which

the Retailers operate.

         5.       The Retailers have previously raised these concerns regarding the DFA Sale. On

March 9, 2020, the Retailers filed an objection to the Debtors’ proposed bid procedures and

approval of the designation of DFA as the stalking horse bidder [Docket No. 1065]. On March

20, 2020, at the request of the Court, the Retailers filed a memorandum outlining their private

rights of action under the antitrust laws [Docket No. 1186]. The Department of Justice has also

noted that the DFA Sale raises significant antitrust concerns, stating in a letter to the Committee

that “an acquisition of Dean by DFA appears to pose a serious risk of anticompetitive harm.” 5

         6.       Indeed, both the Debtors and DFA have a history of anticompetitive behavior. 6 As

a result of this conduct, for example, the Debtors already dominate the Southeastern United States

processed milk and other dairy markets where Food Lion owns and operates its supermarkets.

Further consolidation of the market through the DFA Sale will only increase the monopoly power


3
    Decl. of Gary Rahlfs in Support of Debtors’ Chapter 11 Proceedings and First Day Pleadings (Rahlfs Decl.)
    [Docket No. 46] ¶ 8.
4
    Id. at ¶ 5.
5
    Supp. Obj. of the Official Comm. of Unsecured Creditors, Exh. A [Docket No. 1111].
6
    See In re Southeastern Milk Antitrust Litigation, 801 F. Supp. 2d 705 (E.D. Tenn. 2011); Allen v. Dairy Farmers
    of Am., Inc., 748 F. Supp. 2d 323 (D. Vt. 2010); First Impressions Salon, Inc. v. Nat'l Milk Producers Fed'n, 214
    F. Supp. 3d 723 (S.D. Ill. 2016).

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of DFA/Dean Foods and allow it to significantly raise the costs of its rivals, thereby further

reducing competition in the marketplace.

         7.       Section 7 of the Clayton Act provides that no person “shall acquire the whole or

any part of the assets of another person engaged also in commerce . . . where in any line of

commerce or in any activity affecting commerce in any section of the country, the effect of such

acquisition may be substantially to lessen competition, or to tend to create a monopoly.” 7 This

provision applies to asset sales in bankruptcy. 8 The Retailers contend that the DFA Sale violates

this section of the Clayton Act due to the reduction in competition in the raw and processed milk

and other dairy markets caused by the combination of the Debtors and DFA’s businesses. 9

         8.       Any individual, including the Retailers, has the right to enforce this prohibition by

filing a lawsuit in federal district court. Section 16 of the Clayton Act gives any “person, firm,

corporation, or association” the ability to file such a lawsuit for injunctive relief to protect itself

against “threatened loss or damage by a violation of the antitrust laws,” including under Section 7

of the Clayton Act. 10 The U.S. Supreme Court has recognized this private right of action and has

observed that there are “no restrictions or exceptions to the forms of injunctive relief a private

plaintiff may seek or a court may order” under this provision. 11

         9.       The Retailers believe the DFA Sale will violate Section 7 of the Clayton Act (and

potentially other antitrust laws) due to the substantial reduction in competition in both the raw and



7
     15 U.S.C. § 18.
8
     See, e.g., In re AMR Corp., 527 B.R. 874, 882 (Bankr. S.D.N.Y. 2015) (addressing Section 7 of the Clayton Act
     with respect to a merger in bankruptcy).
9
     DFA’s purchase of the Debtors’ assets may also violate other provisions of the antitrust laws. This example is
     provided purely for illustrative purposes, and the Retailers reserve all rights with respect to any claims they may
     have under applicable law.
10
     15 U.S.C. § 26.
11
     California v. Am. Stores Co., 495 U.S. 271, 271 (1990).

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processed milk and other dairy markets caused by such acquisition, particularly in light of the

extensive history of collusive and anti-competitive behavior by both the Debtors and DFA in the

relevant markets. It is possible that the U.S. Department of Justice’s ongoing review may resolve

these concerns, and the Retailers intend to cooperate with that review. However, the Retailers also

believe it is important that any bankruptcy process recognize their independent right to challenge

the proposed acquisition in federal district court under the Clayton Act and other provisions of

antitrust law.

         10.      At the March 12, 2020 hearing to approve the bid procedures, the Retailers raised

these concerns and the Court noted that it would take the Retailers rights under the antitrust laws

into account. 12 Now that the Debtors have selected DFA as the successful bidder for the vast

majority of their milk processing facilities, the Retailers’ concerns have become a reality. Indeed,

the proposed order authorizing the DFA Sale states that the sale will be free and clear of all claims

and liens and the transfer of the assets will not subject DFA to any liability for any claims,

including antitrust claims. 13 The Retailers have a private right of action under the antitrust laws

to sue to prevent the harms to competition from the DFA Sale, and the Retailers do not consent to

the transfer of the Debtors’ assets free and clear of their claims. Therefore, the Could should not

approve the DFA Sale without including the following language in the order that makes it clear

that the DFA Sale does not prejudice the rights of the Retailers under the antitrust laws:

         Notwithstanding anything to the contrary contained herein, no provision of this
         Order or the APA shall operate to impair, prejudice, or otherwise abrogate the
         rights of The Stop & Shop Supermarket Company LLC and Food Lion LLC, and
         any of their affiliates, subsidiaries, successors, or assigns, to seek relief against the
         Debtors and the Buyer under the antitrust laws of the United States. All such
         rights are explicitly reserved pursuant to this Order.


12
     Bid Procedures Hr’g Tr. 89:1-10 (Mar. 12, 2020).
13
     Proposed Order ¶ AA [Docket No. 1350-1].

                                                        5
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                                           CONCLUSION

       11.     For the reasons stated above, the Court should not approve the DFA Sale unless the

Retailers’ rights under the antitrust laws are preserved.

Dated: April 1, 2020
       Houston, Texas                         HUNTON ANDREWS KURTH, LLP


                                              /s/ Timothy A. (“Tad”) Davidson II
                                              Timothy A. (“Tad”) Davidson II
                                              (Texas Bar No. 24012503)
                                              Philip M. Guffy
                                              (Texas Bar No. 24113705)
                                              600 Travis Street, Suite 4200
                                              Houston, Texas 77002
                                              Tel: 713-220-4200
                                              Fax: 713-220-4285
                                              Email: taddavidson@HuntonAK.com
                                                     pguffy@HuntonAK.com

                                              -and-

                                              Gregory G. Hesse
                                              (Texas Bar No. 09549419)
                                              1445 Ross Avenue, Suite 3700
                                              Dallas, Texas 75202
                                              Tel: 214-979-3000
                                              Fax: 214-880-0011
                                              Email: ghesse@HuntonAK.com

                                              Counsel for The Stop & Shop Supermarket
                                              Company LLC and Food Lion LLC




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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 1, 2020, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF notification system on the parties
registered to receive electronic notices in this case.

                                             By:     /s/ Timothy A. (“Tad”) Davidson II
                                                     Timothy A. (“Tad”) Davidson II
